                Case 23-11069-CTG             Doc 794-2        Filed 10/09/23        Page 1 of 2




                        IN THE UNITED STATES BANKRUPTCY COURT

                                FOR THE DISTRICT OF DELAWARE

                                                                    Chapter 11
    In re:
                                                                    Case No. 23-11069 (CTG)
             YELLOW CORPORATION, et al.,1
                                                                    (Jointly Administered)
                                     Debtors.
                                                                    Hearing Date: October 23, 2023 at 10:00 a.m. (ET)
                                                                    Objection Deadline: October 16, 2023 at 4:00 p.m. (ET)

       NOTICE OF MOTION OF THE OFFICIAL COMMITTEE OF UNSECURED
     CREDITORS OF YELLOW CORPORATION, ET AL. FOR ENTRY OF AN ORDER
     CLARIFYING THE REQUIREMENT TO PROVIDE ACCESS TO CONFIDENTIAL
         OR PRIVILEGED INFORMATION AND APPROVING A PROTOCOL
             REGARDING CREDITOR REQUESTS FOR INFORMATION

       PLEASE TAKE NOTICE that, on October 9, 2023, the Official Committee of Unsecured
Creditors (the “Committee”), appointed in the above-captioned chapter 11 cases of the above-
captioned debtors (collectively, the “Debtors”), filed the Motion of the Official Committee of
Unsecured Creditor of Yellow Corporation, et al., for Entry of an Order Clarifying the
Requirement to Provide Access to Confidential or Privileged Information and Approving a
Protocol Regarding Creditor Requests for Information (the “Motion”) with the United States
Bankruptcy Court for the District of Delaware, 824 North Market Street, 3rd Floor, Wilmington,
Delaware 19801 (the “Court”). A copy of the Motion is attached hereto.

       PLEASE TAKE FURTHER NOTICE that any responses to the Motion must be in
writing and filed with the Clerk of the Bankruptcy Court, 824 North Market Street, 3rd Floor,
October 16, 2023, at 4:00 p.m. (ET).

        PLEASE TAKE FURTHER NOTICE that at the same time, you must also serve a copy
of the response or objection upon: (i) the Debtors, Yellow Corporation, 11500 Outlook Street,
Suite 400, Overland Park, Kansas 66211, Attn.: General Counsel; (ii) counsel to the Debtors, (A)
Kirkland & Ellis LLP, 300 North LaSalle, Chicago, Illinois, 60654, Attn.: Whitney Fogelberg
(whitney.fogelberg@kirkland.com) and Kirkland & Ellis LLP, 601 Lexington Avenue, New York,
New York 10022, Attn.: Allyson B. Smith (allyson.smith@kirkland.com) and (B) Pachulski Stang
Ziehl & Jones LLP, 919 North Market Street, 17th Floor, PO Box 8705, Wilmington, Delaware
19801, Attn.:        Laura Davis Jones (ljones@pszjlaw.com), Timothy P. Cairns
(tcairns@pszjlaw.com), Peter J. Keane (pkeane@pszjlaw.com), and Edward Corma
(ecorma@pszjlaw.com); (iii) the Office of United States Trustee for the District of Delaware, 844
King Street, Suite 2207, Lockbox 35, Wilmington, Delaware 19801, Attn.: Jane Leamy
1
  A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal place
of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400, Overland
Park, Kansas 66211.
            Case 23-11069-CTG           Doc 794-2     Filed 10/09/23    Page 2 of 2




(jane.m.leamy@usdoj.gov) and Richard Shepacarter (richard.shepacarter@usdoj.gov); and (iv)
counsel to the Committee, (A) Akin Gump Strauss Hauer & Feld LLP, One Bryant Park, Bank of
America Tower, New York, NY 10036-6745 US, Attn.: Philip C. Dublin
(pdublin@akingump.com), Meredith A. Lahaie (mlahaie@akingump.com), and Kevin Zuzolo
(kzuzolo@akingump.com) and (B) co-counsel to the Committee, Benesch Friedlander Coplan &
Aronoff LLP, 1313 North Market Street, Suite 1201, Wilmington, DE, 19801, Attn.: Jennifer R.
Hoover (jhoover@beneschlaw.com) and Kevin M. Capuzzi (kcapuzzi@beneschlaw.com).

    PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN
ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF
DEMANDED BY THE MOTION WITHOUT FURTHER NOTICE OR HEARING

      PLEASE TAKE FURTHER NOTICE THAT IF AN OBJECTION IS PROPERLY
FILED AND SERVED IN ACCORDANCE WITH THE ABOVE PROCEDURES, A HEARING
WILL BE HELD ON OCTOBER 23, 2023, AT 10:00 A.M. PREVAILING EASTERN TIME,
BEFORE THE HONORABLE CRAIG T. GOLDBLATT IN THE UNITED STATES
BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, 824 N. MARKET STREET,
3RD FLOOR, COURTROOM NO. 7, WILMINGTON, DELAWARE 19801.            ONLY
OBJECTIONS MADE IN WRITING AND TIMELY FILED WILL BE CONSIDERED BY THE
BANKRUPTCY COURT AT SUCH HEARING.

 Dated: October 9, 2023
 Wilmington, Delaware

 BENESCH, FRIEDLANDER,                              AKIN GUMP STRAUSS HAUER & FELD LLP
      COPLAN & ARONOFF LLP
                                                    Philip C. Dublin (pro hac vice)
 /s/ Jennifer R. Hoover                             Meredith A. Lahaie (pro hac vice)
 Jennifer R. Hoover (DE No. 5111)                   Kevin Zuzolo (pro hac vice)
 Kevin M. Capuzzi (DE No. 5462)                     One Bryant Park
 John C. Gentile (DE No. 6159)                      New York, NY 10036
 1313 North Market Street, Suite 1201               Telephone: (212) 872-1000
 Wilmington, DE 19801                               Facsimile: (212) 872-1002
 Telephone: (302) 442-7010                          Email: pdublin@akingump.com
 Facsimile: (302) 442-7012                                 mlahaie@akingump.com
 E-mail: jhoover@beneschlaw.com                            kzuzolo@akingump.com
          kcapuzzi@beneschlaw.com
          jgentile@beneschlaw.com


 Counsel to the Official Committee of Unsecured Creditors




                                               2
